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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                 CLARKSBURG

   CYNTHIA D. PAJAK,

              Plaintiff,

   v.                                       CIVIL ACTION NO. 1:19-CV-160
                                                      (KLEEH)

   UNDER ARMOUR, INC.,
   UNDER ARMOUR RETAIL, INC.,
   and BRIAN BOUCHER,

              Defendants.


          ORDER CONTINUING FINAL PRETRIAL CONFERENCE AND TRIAL

        For   reasons   appearing    to   the   Court,   the   final   pretrial

   conference and jury trial in this matter are CONTINUED GENERALLY.

        It is so ORDERED.

        The Court directs the Clerk to transmit copies of this Order

   to counsel of record.

        DATED: April 5, 2023



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                                      THOMAS S. KLEEH, CHIEF JUDGE
                                      NORTHERN DISTRICT OF WEST VIRGINIA
